                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )           NO. 3:20-CR-24-4
                                                  )
 BILLY HAUN                                       )
                                                  )



                                          ORDER

        Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation,

 recommending that the Court: (1) find that the plea hearing in this case could not be further

 delayed without serious harm to the interests of justice; (2) grant Defendant’s motion to

 withdraw his not guilty plea to Count One of the Indictment; (3) accept Defendant’s plea

 of guilty to Count One of the Indictment, that is, conspiracy to distribute and possess with

 intent to distribute five (5) grams or more of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(a)(1)(B); (4) accept Defendants plea of guilty to Count Seven

 of the Indictment charging him with conspiracy to commit money laundering in violation

 of 18 U.S.C. §§ 1956(h) and 1956(a)(1)(B)(i); (5) adjudicate Defendant guilty of the

 charges set forth in Count One and Count Seven of the indictment; and (6) find that

 Defendant shall remain in custody until sentencing in this matter (Doc. 84.) Neither party

 filed a timely objection to the report and recommendation. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the



                                              1

Case 3:20-cr-00024-HSM-DCP Document 94 Filed 11/04/20 Page 1 of 2 PageID #: 332
 Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc.

 84) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)    As set forth on the record, Defendant’s plea hearing could not be further

 delayed without serious harm to the interests of justice;

        (2)    Defendant’s motion to withdraw his not guilty plea to Count One and Count

 Seven of the Indictment is GRANTED;

        (3)    Defendant’s plea of guilty to Count One of the Indictment, that is conspiracy

 to distribute and possess with intent to distribute five (5) grams or more of

 methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(a)(1)(B), is

 ACCEPTED.

        (4)    Defendant’s plea of guilty to Count Seven of the Indictment, charging him

 with conspiracy to commit money laundering in violation of 18 U.S.C. §§ 1956(h) and

 1956(a)(1)(B)(i), is ACCEPTED.

        (4)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count

 One and Count Seven of the Indictment;

        (5)    Defendant SHALL REMAIN in custody until sentencing in this matter,

 which is scheduled to take place on January 14, 2021 at 10:00 a.m. before the Honorable

 Henry S. Mattice, Senior United States District Judge.

        SO ORDERED.

                                           /s/  Harry S. Mattice Jr. _________________
                                           HARRY S. MATTICE, JR
                                           SENIOR UNITED STATES DISTRICT JUDGE
                                           November 4, 2020


                                              2

Case 3:20-cr-00024-HSM-DCP Document 94 Filed 11/04/20 Page 2 of 2 PageID #: 333
